        Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 1 of 7



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                            *
KAMILLE D. JONES                            *
                     Plaintiff,             *       Civil Case No.: 1:21-cv-02606-ADC
               vs.                          *
BLAIR WELLNESS CENTER, et al.               *       Hon. A. David Copperthite
                     Defendants.            *
                                            *


   PLAINTIFF’S REPLY TO DEFENDANTS’ OPPOSITION TO PLAINTIFF’S
 MOTION TO STRIKE COUNTER-COMPLAINT AND MOTION FOR LEAVE TO
                   FILE FIRST AMENDED ANSWER

      COMES NOW, Plaintiff and Counter-Defendant Kamille D. Jones (“Plaintiff”), by

and through undersigned Counsel, and hereby files the following Reply in opposition to

Defendants’ Opposition to Plaintiff’s Motion to Strike Counter-Complaint and Motion

for Leave to File First Amended Answer, Affirmative Defenses, and Counter-Complaint

(“Opposition and Motion to Amend”) (ECF No. 40). It is an “axiomatic standard” in this

Court that a party may not use their memorandum in opposition to a dispositive motion

to amend a pleading. Woodbury v. Victory Van Lines, 286 F. Supp. 3d 685, (D. Md. 2017).

Additionally, surreplies are not permitted to be filed without leave of Court, per Local

Rule 105.2.a. Insofar as a response is warranted, Plaintiff opposes Defendants’ Opposition

and Motion to Amend in its entirety, and states the following:

                                  PROCEDURAL POSTURE

      Plaintiff filed her Motion to Strike Counterclaim or, in the Alternative, Motion to

Dismiss (“Motion to Strike”)(ECF No. 39) on June 16, 2022. Defendants Blair Wellness
         Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 2 of 7



Center and Matthew Blair filed their Opposition and Motion to Amend (ECF No. 40) on

June 25, 20221. Defendants then filed two additional sur-replies, on June 30, 2022 (ECF

No. 42) and July 11, 2022 (ECF No. 43).

                               ARGUMENT
I.  DEFENDANTS’ MOTION FOR LEAVE TO AMEND THEIR ANSWER
SHOULD FAIL FOR FUTILITY AND PROCEDURAL DEFICIENCY.
    Although leave to amend must be freely given by the Court, leave to amend may

be denied where the proposed amendment “would be prejudicial to the opposing party,

or the moving party has acted in bad faith, or the amendment would be futile.” Equal

Rights Ctr. v. Niles Bolton Assocs., 602 F.3d 597, 603 (4th Cir. 2010). A proposed amendment

is prejudicial to the opposing party if it is belated and would change the nature of the

litigation. Id. at 604; see also Deasy v. Hill, 833 F.2d 38, 42 (4th Cir. 1987). A proposed

amendment is futile if “the proposed amended complaint fails to satisfy the requirements

of the federal rules.” Potts v. DiPaola, Civil Action No. RDB-21-1073, 2022 U.S. Dist. LEXIS

36680, at 7 (D. Md. Mar. 2, 2022); quoting Katyle v. Penn Nat. Gaming, Inc. 637 F.3d 462, 471

(4th Cir. 2011); aff’d United States ex rel. Wilson v. Kellogg Brown & Root, Inc., 525 F.3d 370,

376 (4th Cir. 2008)). It is well-established in this Circuit that the opposition to a dispositive

motion “is not a vehicle for amending the complaint.” Potts v. DiPaola, Civil Action No.

RDB-21-1073, 2022 U.S. Dist. LEXIS 36680, at 7-8. See Whitten v. Apria Healthcare Grp., Inc.,

No. PWG-14-3193, 2015 U.S. Dist. LEXIS 61060, 2015 WL 2227928, at *7 (D. Md. May 11,




1 Counsel for the Defendants emailed Plaintiff’s Counsel in the evening of Friday, June
24, 2022 seeking permission to amend their Answer, and filed the presently-contested
Opposition and Motion to Amend not 24-hours later. Plaintiff’s Counsel was neither
called nor given any meaningful opportunity to decline Defendants’ Counsel’s request
for consent.


                                              -2-
         Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 3 of 7



2015) see also Mylan Laboratories, Inc. v. Akzo, N. V., 770 F.Supp. 1053, 1068 (D. Md.

1991) (quoting Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101, 1107 (7th

Cir.1984)), aff'd, 2 F.3d 56 (4th Cir. 1993); Zachair Ltd. v. Driggs, 965 F.Supp. 741, 748 n.4

(D. Md. 1997) (stating that a plaintiff "is bound by the allegations contained in its

complaint and cannot, through the use of motion briefs, amend the complaint"), aff'd, 141

F.3d 1162 (4th Cir. 1998); Woodbury v. Victory Van Lines, 286 F.Supp.3d 685, 692 (D. Md.

2017) (stating it is axiomatic that a plaintiff may not use their memorandum in opposition

to amend the complaint).

       In this case, the Defendants/Counter-Plaintiffs are improperly attempting to use

their Opposition to Plaintiff’s Motion to Strike as a vehicle for amending their Answer.

As stated in Plaintiff’s Motion to Strike, Defendants’ filed their standalone Counter-

Complaint thirty-eight (38) days after filing their answer. While Defendants argue that

their compulsory counterclaims have not been waived, Plaintiff contends that their

Motion for Leave to Amend, as appended to Defendants’ Opposition to Plaintiff’s Motion

to Strike, fails to properly raise the issue before the Court. Considering that the deadline

for amending pleadings set by the Scheduling Order was June 27, 2022, the Defendants’

proposed amendment would be futile.

     II.    GRANTING DEFENDANTS’ MOTION FOR LEAVE TO AMEND
THEIR ANSWER WOULD REWARD DEFENDANTS’ CONTINUED BAD FAITH.
     By all indications, the notable confusion surrounding the Parties is entirely by

design, as the Defendants continue to put forth incomplete, inaccurate, and otherwise

misleading information concerning the nature of and relationships between these

entities. Defendant Blair has intentionally misled this Court as to his ownership interest




                                            -3-
        Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 4 of 7



in, and relationship to Blair Wellness Center, while Blair Wellness Center has enabled the

misdirection through its incomplete and inaccurate Corporate Affiliation and Financial

Interest Disclosure. Defendants’ Motion, if granted, would amount to a reward for

Defendants’ continued obfuscation and misdirection—which has been significant thus

far.

         a. The Corporate Affiliation and Financial Interest Disclosure Filed by
Defendant Blair Wellness is Facially Deficient and Contains None of the Information
Required by the Local Rules.
      L.R. 103.3 requires counsel file a Disclosure of Affiliations and Financial Interest,

disclosing the identity of any parent or other affiliate of a corporate party and the

description of the relationship between the party and such affiliates; the identity of all

members of any party that is a business entity established under state law, other than a

corporation; the identity of any corporation, unincorporated association, partnership, or

other business entity, not a party to the case, which may have any financial interest

whatsoever in the outcome of the litigation, and the nature of its financial interest.

Counsel for Defendant Blair Wellness filed its Corporate Disclosure Statement

(“Disclosure”) (ECF No. 33) on April 25, 2022, which states in its entirety:


              I, the undersigned, counsel of record for Defendant Blair Wellness
              Center, LLC (“Defendant”), certify to the best of my knowledge and
              belief that 1) Defendant’s sole member is Blair Medical, LLC, 2)
              Defendant has no other subsidiaries or affiliates, and 3) there are no
              non-party entities with a financial interest in the outcome of this
              litigation.

Notwithstanding the complete dearth of information disclosed regarding “Blair Medical,

LLC,” conspicuously absent from the Disclosure is any mention of Blair Management,



                                              -4-
         Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 5 of 7



presently-proposed Party Defendant, and known Blair Wellness Center affiliate, by way

of the Administrative Services Agreement the original Defendants themselves provided.

Less conspicuously, but absent nonetheless, are the no fewer than ten affiliated business

registrations and non-party entities ostensibly either controlled by Mr. Blair or that

maintain principal offices at Mr. Blair’s Timonium residence, all of which appear to have

a financial interest of some kind in the outcome of this litigation. Considering the broad

sweep of the phrase “any financial interest whatsoever in the outcome of the litigation,”

which “includes a potential obligation of an insurance company2 or other person to

represent or to indemnify any party to the case,” there is no conceivable scenario wherein

the Disclosure Statement as filed represents a good faith effort to conform to the

disclosure requirements of L.R.103.33.

         b. Blair Medical, LLC Has Only Existed for One Year in its Present Form,
and Did Not Exist at All for Most of the Time Period Relevant to the Complaint.
      While the Disclosure states plainly that “Defendant’s sole member is Blair Medical,

LLC,” public records indicate that this is statement is, at best, incomplete to the point of

inaccuracy, as Blair Medical has existed across at least four separate iterations and

registrations since 2009, and has only existed in its present form since June 2021. SDAT

Business Entity search results for “Blair Medical” yield four separate business

registrations, two of which are active. The first is Blair Medical, Inc. (SDAT ID




2 A retail business as expansive as Blair Wellness Center certainly has insurance coverage
of some kind, and such coverage would likely stand anathema to the personal property
interest required to uphold Defendants’ counterclaim for conversion.
3 Plaintiff’s Counsel reached out to Defendants’ Counsel on June 5, 2022, requesting an

amended disclosure statement. Opposing Counsel replied nine days later that they saw
no issue with the disclosure statement as filed.


                                            -5-
        Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 6 of 7



#D12919619), the former name of Blair Pharmacy, Inc4. The second result is “Blair

Medical, LLC” (SDAT ID #W13381223), ostensibly in operation from 2010-2012.

Subsequently, “Blair Medical [sic]LLC” (SDAT ID #W17986738) was organized May 5,

2017 but subsequently forfeited its registration October 16, 2020. “Blair Medical, LLC”

(SDAT ID #W21900410) was organized June 18, 2021, and is already out of good standing

with the State. All to say, there was no Blair Medical, LLC in existence whatsoever from

October 16, 2020 until June 18, 2021; and technically speaking, from 2012 until 2021, there

was no “Blair Medical, LLC” as stylized on the corporate structure chart Blair Wellness

provided to the Commission. By all indications, Blair Wellness Center operated for more

than eight months—virtually the entire time period relevant to Plaintiff’s claims—as

what essentially amounts to a “zero member LLC;” which is to say Blair Medical

continued operations with no authority to conduct business in the State, use the name

Blair Medical, or receive the personal liability protections typically afforded the members

of an LLC.

                                     CONCLUSION

       For the foregoing reasons, Plaintiff Jones respectfully prays this Court DENY

Defendants’ Motion for Leave to Amend; DISREGARD any arguments by Defendants



4 Incorporated in February 2009 by Matthew Blair, and forfeited in October 2018, Blair
Pharmacy, Inc. (f/k/a Blair Compounding Pharmacy, Inc.; f/k/a Blair Medical, Inc.) was
revived June 1, 2020 by Matthew Blair as the last acting President and resident agent.
Blair Pharmacy, Inc. is relevant here because each receipt Defendants provided to the
police as evidence of theft shows the point-of-sale transaction being “collected at Blair
Pharmacy, Inc.,” indicating that Mr. Blair is processing the credit card transactions for
Blair Wellness through his fraudulent Timonium pharmacy. Information regarding the
affiliation between Blair Wellness and Blair Pharmacy certainly warrants a fair degree of
scrutiny.


                                           -6-
         Case 1:21-cv-02606-ADC Document 46 Filed 07/12/22 Page 7 of 7



not raised in their Opposition (ECF No. 40) or any timely amendment thereto; and

GRANT any such other and further relief as this Court deems just and proper.


                                                       Respectfully Submitted,

                                                        /s/ Lindsey Parker
                                                       Lindsey J. Parker (Bar No. 21776)
                                                       725 Ponca Street
                                                       Baltimore, MD 21224
                                                       (443) 345-8388 direct
                                                       (443) 335-8258 fax
                                                       Lindsey.parker@pm.me
                                                       Attorney for Plaintiff


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that pursuant to the Federal Rules of Civil Procedure and the

Local Rules of the United States District Court for the District of Maryland, on this 11th

day of July, 2022, a copy of the foregoing Reply to Defendants’ Opposition and Motion

for Leave to File First Amended Answer was electronically filed via CM/ECF and served

on all counsel of record.

                                                       /s/ Lindsey Parker
                                                       Lindsey J. Parker




                                           -7-
